440 F.2d 1163
    Mrs. Myrtis Ioannis MPILIRIS, Plaintiff-Appellee,v.HELLENIC LINES, LIMITED, Transpacific Carriers Corp. and Universal Cargo Carriers, Defendants-Appellants.
    No. 31147 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    April 12, 1971.
    
      Appeal from the United States District Court for the Southern District of Texas, 323 F.Supp. 865, Woodrow B. Seals, Judge.
      M. L. Cook, Kenneth D. Kuykendall, Ted C. Litton, Houston, Tex., for appellants, Hellenic Lines, Limited, Transpacific Carriers Corp. and Universal Cargo Carriers; Royston, Rayzor &amp; Cook, Houston, Tex., of counsel.
      Arthur J. Mandell, Mandell &amp; Wright, Houston, Tex., for plaintiff-appellee; Arthur J. Mandell, of counsel.
      Ioannis Billiris, pro se.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir., Isbell Enterprises, Inc. v. Citizens Casualty Company of New York et al., 5 Cir., 1970, 431 F.2d 409, Part I
      
      
        1
         See N.L.R.B. v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    